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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                            )
In re:                                                      )
                                                            ) Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,                          )
                                                            ) Case No. 19-34054 (SGJ)
                    Reorganized Debtor.                     )
                                                            )
                                                            )
JAMES DONDERO                                               )
                                                            )
                         Appellant,                         )
vs.                                                         ) Case No: 3:21-cv-01590-N
                                                            )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                          )
                                                            )
                         Appellee.                          )
                                                            )
                                                            )

                                CERTIFICATE OF SERVICE

       I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case
of Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On January 13, 2022, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

         Appellee’s Certificate of Interested Persons Pursuant to Local Bankruptcy Rule
          8012.1 [Docket No. 32]

Dated: January 18, 2022
                                                 /s/ Hannah Bussey
                                                 Hannah Bussey
                                                 KCC
                                                 Meidinger Tower
                                                 462 South 4th Street
                                                 Louisville, KY 40202
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                           EXHIBIT A
           Case 3:21-cv-01590-N Document 33 Exhibit
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                                                        Civil Action Service List
                                                       Served via Electronic Mail


          Description                    CreditorName                 CreditorNoticeName                          Email
                                                                                                  john@bondsellis.com;
                                                                 John Y. Bonds, III, John T.      john.wilson@bondsellis.com;
                                                                 Wilson, IV, Bryan C. Assink,     bryan.assink@bondsellis.com;
                                 Bonds Ellis Eppich Schafer      Clay M. Taylor, William R.       clay.taylor@bondsellis.com;
Counsel for James Dondero        Jones LLP                       Howell, Jr.                      william.howell@bondsellis.com
Financial Advisor to Official
Committee of Unsecured                                           Earnestiena Cheng, Daniel H     Earnestiena.Cheng@fticonsulting.com;
Creditors                        FTI Consulting                  O'Brien                         Daniel.H.O'Brien@fticonsulting.com
                                                                 Melissa S. Hayward, Zachery Z.  MHayward@HaywardFirm.com;
Counsel for the Debtor           Hayward & Associates PLLC       Annable                         ZAnnable@HaywardFirm.com
Counsel for James Dondero        Levinger PC                     Jeffrey S. Levinger             jlevinger@levingerpc.com
                                                                                                 rpachulski@pszjlaw.com;
                                                                                                 jpomerantz@pszjlaw.com;
                                                                 Richard M. Pachulski, Jeffrey   ikharasch@pszjlaw.com;
                                                                 N. Pomerantz, Ira D. Kharasch, joneill@pszjlaw.com;
                                                                 James E. O’Neill, Robert J.     rfeinstein@pszjlaw.com;
                                 Pachulski Stang Ziehl & Jones   Feinstein, John A. Morris,      jmorris@pszjlaw.com;
Counsel for the Debtor           LLP                             Gregory V. Demo                 gdemo@pszjlaw.com
                                                                 Robert Joel Feinstein, Hayley
                                                                 R. Winograd, Judith Elkin,      rfeinstein@pszjlaw.com;
                                 Pachulski Stang Ziehl & Jones   Jordan A Kroop, Robert J        hwinograd@pszjlaw.com;
Counsel for the Debtor           LLP                             Feinstein                       jelkin@pszjlaw.com
                                                                                                 renglert@robbinsrussell.com;
                                                                 Roy T. Englert, Jr., Matthew M. mmadden@robbinsrussell.com;
                                 Robbins, Russell, Englert,      Madden, John B. Goerlich,       jgoerlich@robbinsrussell.com;
Co-Counsel to Debtor             Orseck & Untereiner LLP         Shikha Garg                     sgarg@robbinsrussell.com
                                                                                                 mclemente@sidley.com;
                                                                 Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
Counsel for Official Committee                                   Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
of Unsecured Creditors           Sidley Austin LLP               Dennis M. Twomey                dtwomey@sidley.com
                                                                                                 preid@sidley.com;
                                                                 Penny P. Reid, Paige Holden     pmontgomery@sidley.com;
Counsel for Official Committee                                   Montgomery, Juliana Hoffman, jhoffman@sidley.com;
of Unsecured Creditors           Sidley Austin LLP               Chandler M. Rognes              crognes@sidley.com
Bankruptcy Judge                 US Bankruptcy Court             Hon. Stacey G Jernigan          sgj_settings@txnb.uscourts.gov




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                           EXHIBIT B
                               Case 3:21-cv-01590-N Document 33 Exhibit
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                                                                           Civil Action Service List
                                                                          Served via First Class Mail


       Description               CreditorName            CreditorNoticeName                    Address1             Address2       Address3       City     State      Zip
                                                     John Y. Bonds, III, John T.
                                                     Wilson, IV, Bryan C. Assink,
                          Bonds Ellis Eppich Schafer Clay M. Taylor, William R.      420 Throckmorton Street,
Counsel for James Dondero Jones LLP                  Howell, Jr.                     Suite 1000                                               Fort Worth   TX      76102
                                                                                     1700 Pacific Avenue,
Counsel for James Dondero Levinger PC                   Jeffrey S. Levinger          Suite 2390                                               Dallas       TX      75201
                                                        Roy T. Englert, Jr., Matthew
                           Robbins, Russell, Englert,   M. Madden, John B. Goerlich,
Co-Counsel to Debtor       Orseck & Untereiner LLP      Shikha Garg                  2000 K Street NW                                         Washington DC        20006
                                                                                     Chambers of Judge                             Room
Bankruptcy Judge           US Bankruptcy Court          Hon. Stacey G Jernigan       Stacey G C Jernigan        1100 Commerce St   1254       Dallas       TX      75242-1496




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